Case 3:19-cv-07270-WHA Document 334-2 Filed 09/23/21 Page 1 of 6




 Plaintiffs’ Exhibit A
     Case 3:19-cv-07270-WHA Document 334-2 Filed 09/23/21 Page 2 of 6



 1   MAYER BROWN LLP
     Archis A. Parasharami (State Bar No. 321661)
 2   1999 K Street NW
     Washington, DC 20006
 3   Telephone: +1.202.263.3000
     Facsimile: +1.202.263.3300
 4   Email:      aparasharami@mayerbrown.com
 5   Attorneys for Defendant
     CRICKET WIRELESS, LLC
 6

 7

 8
                                UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN FRANCISCO DIVISION
11

12
     JERMAINE THOMAS, JERMAINE MILLER,                Case No. 3:19-cv-07270-WHA
13   JAMIE POSTPICHAL, RONALD ELLISON,
     SARAH WATERS, KAMILAH RIDDICK,                   RULE 26(a)(1) INITIAL DISCLOSURES
14   FELICIA REDDICK, TIARA CROMWELL,                 OF DEFENDANT CRICKET
     LYSHA ENCARNACION, LANI HALE,                    WIRELESS, LLC
15
     MELIZZA WEAVER, ALFREDO SANCHEZ,
     and CLARISSA KELLY, individuals, on              Judge:     Hon. William H. Alsup
16
     behalf of themselves and others similarly
17   situated,
18                    Plaintiffs,
19          v.
20
     CRICKET WIRELESS, LLC,
21
                      Defendant.
22

23

24

25

26

27

28


                                    DEFENDANT’S INITIAL DISCLOSURES; CASE NO. 3:19-CV-07270-WHA
     Case 3:19-cv-07270-WHA Document 334-2 Filed 09/23/21 Page 3 of 6



 1              Pursuant to Federal Rule of Civil Procedure 26(a)(1), Defendant Cricket Wireless, LLC

 2   (“Cricket”) submits the following initial disclosures. Cricket reserves the right to supplement

 3   these disclosures pursuant to its continuing obligations under the Federal Rules of Civil Procedure

 4   and the United States District Court for the Northern District of California Local Rules (the

 5   “Local Rules”).

 6              The following disclosures are made based on the information reasonably available to

 7   Cricket as of the date of this disclosure, and represent Cricket’s good faith effort to identify

 8   information pertaining to the allegations in Plaintiffs’ First Amended Complaint. Discovery has

 9   just commenced in this case; thus, further investigation, research, and analysis may supply

10   additional facts and documents and add meaning to known facts, all of which may in turn lead to

11   additions or changes to this disclosure. Cricket therefore reserves the right to amend and/or

12   supplement these initial disclosures as necessary during the course of discovery.

13              By identifying documents or persons likely to have knowledge of relevant facts, Cricket

14   does not waive any objections it now has or may have to the admissibility in evidence at any

15   proceeding of such documents or person’s knowledge or testimony so produced or disclosed.

16   Additionally, Cricket does not waive its right to object to the disclosure of any information or

17   documents on any grounds provided in the Federal Rules of Civil Procedure, Federal Rules of

18   Evidence, or the Local Rules, including but not limited to the attorney-client privilege, attorney

19   work product doctrine, or any other applicable privilege, rule, or doctrine protecting disclosure.

20         I.      Disclosure of Individuals Likely to Have Discoverable Information Under Fed. R.
21                 Civ. P. 26(a)(1)(A)(i)
                Based on the information presently available to Cricket, and subject to further
22
     investigation, Cricket submits the following names as individuals likely to have discoverable
23
     information that Cricket may use to support its claims or defenses. Cricket will supplement this
24
     list to the extent that further individuals may be identified during discovery:
25

26
                Name                 Last Known Contact             Potential Subjects of Discoverable
27                                       Information                           Information

28   Julie Basham               Former employee                    How customers’ account records are
                                                                   stored in the regular and ordinary
                                                         1
                                        DEFENDANT’S INITIAL DISCLOSURES; CASE NO. 3:19-CV-07270-WHA
     Case 3:19-cv-07270-WHA Document 334-2 Filed 09/23/21 Page 4 of 6



 1                                                              course of Legacy Cricket’s business
                                                                and how those records may be
 2                                                              retrieved. Information about
 3                                                              plaintiffs’ wireless phone packages.
     Deborah Lowe            May only be contacted through      Information regarding Legacy
 4                           Cricket’s counsel                  Cricket’s records pertaining to Legacy
 5                                                              Cricket company-owned store
                                                                locations.
 6   Amanda Stanish          Former employee                    Information regarding Legacy
 7                                                              Cricket’s customer account records,
                                                                including the identifying information
 8                                                              on those accounts, and records of
                                                                customer transactions.
 9
     Chad Walker             Former employee                    Information regarding Legacy
10                                                              Cricket’s sales of 4G/LTE handsets to
                                                                customers.
11
     Nicole Wisner           Former employee                    Information concerning Legacy
12                                                              Cricket’s “Half is More” Pamphlet and
                                                                “MyCricket Guide, Summer 2013.”
13
     Tiara Cromwell          Plaintiff                          Information about claims.
14   Ronald Ellison          Plaintiff                          Information about claims.
15   Lysha Encarnacion       Plaintiff                          Information about claims.
16   Lani Hale               Plaintiff                          Information about claims.
     Clarissa Kelly          Plaintiff                          Information about claims.
17
     Jermaine Miller         Plaintiff                          Information about claims.
18
     Jamie Postpichal        Plaintiff                          Information about claims.
19
     Felicia Reddick         Plaintiff                          Information about claims.
20   Kamilah Riddick         Plaintiff                          Information about claims.
21   Alfredo Sanchez         Plaintiff                          Information about claims.

22   Jermaine Thomas         Plaintiff                          Information about claims.
     Sarah Waters            Plaintiff                          Information about claims.
23
     Melizza Weaver          Plaintiff                          Information about claims.
24
     All current employees and/or consultants of Cricket shall only be contacted through counsel for
25
     Cricket, unless otherwise stated here or elsewhere by counsel for Cricket. Moreover, Cricket is
26
     not representing that it will necessarily rely on information from every individual included in the
27
     list above. Some of the individuals may have cumulative, unnecessary information. There may
28

                                                     -2-
                                     DEFENDANT’S INITIAL DISCLOSURES; CASE NO. 3:19-CV-07270-WHA
     Case 3:19-cv-07270-WHA Document 334-2 Filed 09/23/21 Page 5 of 6



 1   be other individuals, including third-party witnesses, who have discoverable information that

 2   Cricket may use to support its defenses. At this stage of the litigation, Cricket has not specifically

 3   determined those individuals’ identities. Cricket reserves the right to supplement this disclosure

 4   pursuant to Fed. R. Civ. P. Rule 26(e) if additional individuals are identified. Cricket reserves the

 5   right to add witnesses discovered to have personal knowledge on any of the relevant issues

 6   subsequent to the date of these initial disclosures.

 7        II.        Disclosure of Documents that Cricket May Use to Support its Defenses Under
 8                   Fed. R. Civ. P. 26(a)(1)(A)(ii)
                Categories of documents, electronically stored information, and tangible things in
 9
     Cricket’s possession, custody, or control, which it may use to support its claims or defenses
10
     include:
11
                1.      Documents and electronically stored information concerning Legacy Cricket’s
12
                        advertising and marketing materials from 2012 to 2014.
13
                2.      Documents and electronically stored information concerning Legacy Cricket’s
14
                        4G/LTE services and network from 2012 to 2014.
15
                3.      Documents and electronically stored information concerning Legacy Cricket’s
16
                        4G/LTE-capable devices from 2012 to 2014.
17
                4.      Documents and electronically stored information concerning Legacy Cricket’s
18
                        4G/LTE rate plans from 2012 to 2014.
19
                5.      Documents and electronically stored information concerning the named Plaintiffs.
20
                Identification of these categories of documents is unrelated, and without prejudice, to
21
     Cricket’s right to seek discovery of relevant documents that are in the possession, custody, or
22
     control of Plaintiffs or third parties. Cricket reserves the right to supplement this disclosure
23
     pursuant to Fed. R. Civ. P. Rule 26(e) if additional categories of documents are identified.
24
     Furthermore, Cricket reserves the right to supplement or modify these disclosures at a later date
25
     based on information or documents subsequently identified as pertinent to the disputed facts.
26

27

28

                                                        -3-
                                        DEFENDANT’S INITIAL DISCLOSURES; CASE NO. 3:19-CV-07270-WHA
     Case 3:19-cv-07270-WHA Document 334-2 Filed 09/23/21 Page 6 of 6



 1       III.    Disclosure of Computation of Damages Under Fed. R. Civ. P. 26(a)(1)(A)(iii)
 2          Cricket reserves the right to seek its litigation costs, including attorneys’ fees and

 3   expenses, at an appropriate time.

 4

 5        IV.    Disclosure of Applicable Insurance Policies Under Fed. R. Civ. P. 26(a)(1)(A)(iv)

 6          After the entry of a protective order in this matter, Cricket will, to the extent required by

 7   the Federal Rules of Civil Procedure, make available copies of insurance policies, if any, pursuant

 8   to which an insurance business may be liable either to satisfy all or part of a possible judgment in

 9   the action or to indemnify or reimburse for payments made to satisfy such a judgment.

10

11   Dated: April 1, 2020                                MAYER BROWN LLP
12

13                                                       By: /s/ Archis A. Parasharami
                                                                Archis A. Parasharami
14
                                                         Counsel for Defendant
15                                                       CRICKET WIRELESS, LLC
16

17

18

19

20

21

22

23

24

25

26

27

28

                                                     -4-
                                     DEFENDANT’S INITIAL DISCLOSURES; CASE NO. 3:19-CV-07270-WHA
